   Case 21-30589-MBK          Doc 1363 Filed 02/03/22 Entered 02/04/22 00:15:11                     Desc
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      UNITED STATES BANKRUPTCY COURT
      FOR THE DISTRICT OF NEW JERSEY

      Caption in Compliance with D.N.J. LBR 9004-1(b)                   Order Filed on January 31, 2022
      McMANIMON, SCOTLAND & BAUMANN, LLC                                by Clerk
                                                                        U.S. Bankruptcy Court
      75 Livingston Avenue                                              District of New Jersey
      Roseland, NJ 07068
      (973) 622-1800
      Anthony Sodono, III (asodono@msbnj.com)
      Sari B. Placona (splacona@msbnj.com)
      (Proposed Local Counsel for Alishia Landrum,
      Committee Member)

      BEASLEY ALLEN
      218 Commerce Street
      Montgomery, Alabama 36104
      (800) 898-2034
      Leigh O’Dell (Leigh.ODell@BeasleyAllen.com)
      Ted Meadows (Ted.Meadows@BeasleyAllen.com)
      (Proposed Co-Counsel for Alishia Landrum, Committee
      Member)
                                                                    Chapter 11
      In re:
                                                                    Case No. 21-30589
      LTL MANAGEMENT LLC,

                              Debtor.

                              ORDER FOR ADMISSION PRO HAC VICE

               The relief set forth on the following page is ORDERED.




DATED: January 31, 2022
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           This matter having been brought before the Court on application for an Order For
  Admission Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, out-
  of-state attorney, and considered this matter pursuant to Fed. R. Civ. Proc. 78, D.N.J. L. Civ. R.
  101.1 and D.N.J. LBR 9010-1, and good cause having been shown; it is

           ORDERED that P. Leigh O’Dell be permitted to appear pro hac vice; provided that
  pursuant to D.N.J. L. Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed
  promptly by a member of the bar of this Court upon whom all notices, orders and pleadings may
  be served, and who shall promptly notify the out-of-state attorney of their receipt. Only an attorney
  at law of this Court may file papers, enter appearances for parties, sign stipulations, or sign and
  receive payments on judgments, decrees or orders, and it is further

           ORDERED that the applicant shall arrange with the New Jersey Lawyers’ Fund for Client
  Protection for payment of the annual fee, for this year and for any year in which the out of-state
  attorney continues to represent a client in a matter pending in this Court in accordance with New
  Jersey Court Rule 1:28-2 and D.N.J. L. Civ. R. 101.1; said fee to be deposited within twenty (20)
  days of the date of the entry of this Order, and it is further

           ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice
  admission to the District Court for the District of New Jersey shall also be payable within twenty
  (20) days of entry of this Order. Payment in the form of a check must be payable to “Clerk, USDC”
  and forwarded to the Clerk of the United States District Court for the District of New Jersey at the
  following address:

                                      United States District Court
                                        District of New Jersey
                                Martin Luther King, Jr. Federal Building
                                           50 Walnut Street
                                         Newark, N.J. 07102
                                 Attention: Pro Hac Vice Admissions

           and it is further ORDERED that the applicant shall be bound by the Local Rules of the
  United States District Court for the District of New Jersey and the Local Rules of Bankruptcy
  Procedure for the District of New Jersey; and it is further

           ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New
  Jersey Lawyers’ Fund for Client Protection within 5 days of its date of entry.

                                                     2
  4883-3598-4394, v. 1
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 21-30589-MBK
LTL Management LLC                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Feb 01, 2022                                               Form ID: pdf903                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 03, 2022:
Recip ID                   Recipient Name and Address
db                     +   LTL Management LLC, 501 George Street, New Brunswick, NJ 08933-0001
aty                    +   Glenn M. Kurtz, White & Case LLP, 1221 Avenue of the America, New York, NY 10020-1001
aty                    +   Jessica Lauria, White & Case LLP, 1221 Avenue of the America, New York,, NY 10020-1001
aty                    +   Rayburn, Cooper & Durham, P.A., The Carillon, Suite 1200, 227 West Trade St., Charlotte, NC 28202-1672

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 03, 2022                                            Signature:           /s/Joseph Speetjens
